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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

WAYNE D. SCHMIDT,

                          Plaintiff,
                                                    20 Civ. 3300 (KPF)
                   -v.-

STEADILY LLC,                                             ORDER
CABRU TRANSPORT, INC., and
DAVID CHUNG,

                          Defendants.

KATHERINE POLK FAILLA, District Judge:

      The pretrial conference scheduled in this matter for February 3, 2021, at

10:00 a.m. will proceed telephonically. At 10:00 a.m. on February 3, 2021, the

parties shall call (888) 363-4749 and enter access code 5123533#. Please note,

the conference line will not be available before 10:00 a.m.

      SO ORDERED.

Dated: January 28, 2021
       New York, New York

                                              KATHERINE POLK FAILLA
                                             United States District Judge
